                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CIVIL ACTION NO. 3:07CR154-C


UNITED STATES OF AMERICA,                              )
                                                       )
                                                       )
           v.                                          )              ORDER
                                                       )
CHRISTOPHER OTIKO,                                     )
                                                       )
                         Defendant.                    )
__________________________________________________)



       THIS MATTER is before the Court on the “Application Pro Hac Vice [Admission]”

(document #53) of defense counsel D. Michael Bush. For the reasons set forth therein, the Motion

will be GRANTED.

       The Clerk is directed to send copies of this Order to counsel for the parties, including but not

limited to moving counsel.

       SO ORDERED.

                                                       Signed: August 20, 2007




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